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 7
     EVANGELINA BANKS
 8
 9                              U.S. DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11   EVANGELINA BANKS, an individual,           Case No.: 5:16-cv-01652
12
                        Plaintiff,              NOTICE OF SETTLEMENT WITH
13                                              DEFENDANT THE BEST SERVICE
14         v.                                   COPMANY, INC. ONLY

15   KEVIN JEWELERS, INC.; THE BEST
16   SERVICE COMPANY, INC.; DOES 1-
     10,
17
18   Defendants.
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20
21         PLEASE TAKE NOTICE that Plaintiff, EVANGELINA BANKS, and
22   Defendant, THE BEST SERVICE COMPANY, INC., have entered into a settlement in
23   the above matter that will ultimately result in a dismissal being filed as to THE BEST
24   SERVICE COMPANY, INC. only.
25         The parties anticipate the terms to be completed within the next 45 days.
26   ///
27   ///
28   ///

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                                      Notice of Settlement
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 1        As such, Plaintiff requests that all pending dates and deadlines as to Defendant
 2   THE BEST SERVICE COMPANY, INC. only be vacated.
 3
 4                                                 SEMNAR & HARTMAN, LLP
 5
     DATED: August 29, 2016                        /s/ Jared M. Hartman
 6                                                 JARED M. HARTMAN, ESQ.
                                                   Attorneys for Plaintiff
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                                                   EVANGELINA BANKS
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                                     Notice of Settlement
